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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA,              )
                                        )
          Plaintiff,                    )
                                        )               Case No. 1:20-cv-00811-LPS
          v.                            )
                                        )
 ALTABA, INC.,                          )
                                        )
          Defendant.                    )
 _______________________________________)

                           NOTICE OF VOLUNTARY DISMISSAL

         The United States of America hereby provides notice of its voluntarily dismissal of the

Complaint without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(i), and states as follows:

         1.     The United State filed the Complaint in this action on June 16, 2020, to collect the

unpaid federal income and employment tax liabilities of Altaba, Inc. (“Altaba”). (Compl., D.I. 1;

see also Amend. Compl., D.I. 5.)

         2.     Altaba has not yet filed an answer or filed a motion for summary judgment. See

Fed. R. Civ. P. 41(a)(1)(i) (providing that a plaintiff may dismiss an action without a court order

by filing a notice of dismissal before the opposing party serves an answer or motion for summary

judgment).

         3.     This matter has been resolved through a comprehensive resolution in the parallel

action, In re Altaba, Inc., 1:20-cv-00813-LPS (D. Del.), D.I. 53.

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       4.     Accordingly, the United States voluntarily dismisses the above-captioned action

without prejudice.

Date: October 29, 2020
                                              RICHARD E. ZUCKERMAN
                                              Principal Deputy Assistant Attorney General

                                              /s/ Dennis M. Donohue
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2020, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send notification of such filing to

all counsel of record who have entered their appearance in this action.



                                             /s/ Dennis M. Donohue
                                             DENNIS M. DONOHUE
                                             Chief Senior Litigation Counsel
                                             United States Department of Justice, Tax Division




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